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                                                          February 14, 2023

    BY CM/ECF
    The Honorable José R. Almonte, U.S.M.J.
    United States District Court for the District of New Jersey
    Frank R. Lautenberg P.O. Building and U.S. Courthouse
    One Federal Square
    Newark, NJ 07102

            Re:        Metacel Pharmaceuticals, LLC v. Rubicon Research Private Limited
                       Civil Action No. 21-19463-EP-JRA

  Dear Judge Almonte:

        We, along with our co-counsel, Arnall Golden Gregory LLP, represent Plaintiff Metacel
  Pharmaceuticals LLC (“Metacel”) in the above matter.

          We write on behalf of Metacel to respectfully seek Your Honor’s direction regarding
  Defendant Rubicon Research Private Limited’s (“Rubicon”) second improper and premature filing
  of a motion for summary judgment (ECF No. 88). Rubicon’s motion for summary judgment was
  filed in direct violation of this Court’s Pretrial Scheduling Order (ECF No. 25). As we explain
  herein, the timing of Your Honor’s resolution of this issue is critical because of the upcoming filing
  date for a response to Rubicon’s premature filing.

          On April 1, 2022, the Honorable Michael A. Hammer entered the Pretrial Scheduling Order
  in this matter. (ECF No. 25). Paragraph 34 of the Pretrial Scheduling Order states:

            No motions are to be filed without prior written permission from this Court.
            All dispositive motions must first be subject to a dispositive motion pre-
            hearing. Discovery must be completed prior to the filing of a dispositive
            motion. These prerequisites must be met before any motions are filed and the
            motions will be returned if not met. All calendar or dispositive motions, if
            permitted, shall comply with Local Civil Rules 7.1(b) and 56.1.

  (Id. at 5) (Emphasis in text and emphasis added). Thus, as that Order made clear, two events needed
  to occur before a party is authorized to file a summary judgment motion: (1) “Discovery must be
  completed” prior thereto, and (2) a written application seeking a “dispositive motion prehearing”
  must be held before any motion could be filed.

          Here, Rubicon has failed to meet the initial critical factor that discovery be completed prior
  to the filing of its motion. The parties are still actively engaged in discovery. As Your Honor will
  recall, Rubicon previously attempted to file a premature motion for summary judgment that resulted

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in the entry of Your Honor’s September 20, 2022 Order (ECF No. 53), that rejected Rubicon’s
motion as prematurely filed while the parties are still actively engaged in fact discovery. Your
Honor specifically found that Rubicon’s motion was “premature because the parties are still actively
engaged in document discovery . . . .” (ECF No. 53 at 2). Nothing has changed from the date of that
Order. The parties remain in fact discovery.

       Rubicon is now in violation of both Judge Hammer’s Pretrial Scheduling Order and Your
Honor’s September 20, 2022 Order. Standing alone, that is sufficient for the Court to preclude
Rubicon’s filing until it complies with its obligations under the Court’s orders. Considering that fact
discovery does not end until March 3, 2023 and fact discovery is ongoing, Rubicon’s motion is
improper and premature on its face.

       Rubicon has also violated the Court’s requirement that any summary judgment motion be
precleared and approved by the Court. By way of background, on July 27, 2022, Rubicon filed a
“Motion for Leave to File Motion for Summary Judgment,” which—like the filing of the motion
sub judice—contradicted the rules for seeking leave to file a motion for summary judgment and
Judge Hammer’s Pretrial Scheduling Order. Your Honor denied that motion for leave on September
20, 2022 as premature (ECF No. 53). Notwithstanding the clarity of Judge Hammer’s Order and the
findings of Your Honor’s September 20, 2022 Order (and notwithstanding that discovery is
ongoing), on February 10, 2023, Rubicon filed a Motion for Summary Judgment without first
seeking leave to do so. (ECF No. 88).

       Rubicon filed its present motion without written permission from the Court as required by
Paragraph 34 of the Court’s Pretrial Scheduling Order. Your Honor’s September 22, 2022 Order did
not abrogate that obligation.1

        In light of Rubicon’s continued failure to comply with the Pretrial Scheduling Order, we are
compelled to seek Your Honor’s direction as to whether Rubicon’s Motion for Summary Judgment
is ripe for consideration. Absent clarity on this issue, Metacel would be compelled to file its
opposition to Rubicon’s motion by Tuesday, February 21, 2023, or otherwise invoke an automatic
extension, prior to the completion of fact discovery. Metacel, however, respectfully submits that
Rubicon’s motion is not ripe under the terms of Judge Hammer’s Pretrial Scheduling Order or under
Your Honor’s September 20, 2022 Order.

        We respectfully request that the Court deny or strike Rubicon’s pending Motion until full
compliance with the terms of the applicable Orders and specific authorization from the Court for the
filing of such Motion. We thank the Court for its consideration and continued assistance in this
matter and look forward to hearing from the Court at its earliest convenience.

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  Although Your Honor’s Order denying Rubicon’s motion for leave (ECF No. 53) stated that the
parties may file motions for summary judgment after the entry of a claim construction order, we
submit that finding related to the timing of a motion and did not relieve any party of its obligations
under the extant Pretrial Scheduling Order that remains in effect, or otherwise Your Honor would
have set forth the vacation of such obligations specifically in its Order, which is not the case here.
Your Honor’s Order did not eliminate the need for preclearance to file any motion as required by
the Pretrial Scheduling Order.
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cc:   Counsel of record (by CM/ECF)
